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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: 23ANDME, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION                                                            MDL No. 3098


                                       TRANSFER ORDER


         Before the Panel: ∗ Defendants 23andMe, Inc., 23andMe Pharmacy Holdings, Inc., and
23andMe Holding Co. (together, 23andMe) move under 28 U.S.C. § 1407 to centralize this
litigation in the Northern District of California. The litigation consists of 31 actions pending in
three districts, as listed on Schedule A. Since the filing of the motion, the Panel has been notified
of eight related actions pending in the Northern District of California and the Northern District of
Illinois. 1 Plaintiffs in six actions and one potentially related action support the motion. Plaintiffs
in six actions and two potentially related actions oppose the motion, although plaintiffs in two of
those actions alternatively support centralization in the Northern District of California.

         On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact and that centralization in the Northern District of California will
serve the convenience of the parties and witnesses and promote the just and efficient conduct of
this litigation. The actions share common questions of fact arising from allegations that 23andMe
failed to take adequate measures to prevent and mitigate the consequences of a 2023 data security
breach that compromised the personally identifiable and genetic information of some seven million
23andMe customers. Plaintiffs seek certification of overlapping nationwide and statewide class
actions of 23andMe customers, and assert virtually identical claims for negligence, invasion of
privacy, breach of contract, breach of the covenant of good faith and fair dealing, unjust
enrichment, and violation of state consumer protection and privacy laws.
        Discovery in all actions will focus on how 23andMe’s system was breached, how and when
the breach was identified, what security measures 23andMe had in place, and what steps were
taken after the data breach was discovered. Centralization will avoid the possibility of inconsistent
pretrial rulings, particularly with respect to class certification. With a total of 39 actions pending

∗  Judges Nathaniel M. Gorton and Roger T. Benitez did not participate in the decision of this
matter. In addition, one or more Panel members who could be members of the putative classes in
this litigation have renounced their participation in these classes and have participated in this
decision.
1
  These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1
and 7.2.
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in three districts—including eight potential tag-along actions—and dozens of involved plaintiffs’
counsel, centralization will provide efficiencies and conserve the resources of the parties,
witnesses, and courts.
        Plaintiffs in the Northern District of Illinois Bacus action and Hu potential tag-along action
maintain that their cases raise unique legal claims under the Illinois Genetic Information Privacy
Act (GIPA) on behalf of Illinois classes and that those claims should be handled by an Illinois
court. These arguments are not persuasive. Plaintiffs in at least seven cases pending in the
Northern District of California also assert claims under the Illinois GIPA statute on behalf of
putative Illinois classes, and all 39 actions involve substantially similar claims for negligence,
invasion of privacy, breach of contract, breach of the covenant of good faith and fair dealing, and
unjust enrichment. In any event, the Panel has made clear that “the presence of . . . differing legal
theories is not significant where . . . the actions still arise from a common factual core.” In re
Sonic Corp. Customer Data Sec. Breach Litig., 276 F. Supp. 3d 1382, 1383 (J.P.M.L. 2017).
        Plaintiffs opposing centralization also contend that, since the Northern District of
California actions have been related before Judge Edward M. Chen, and the two Northern District
of Illinois actions have been related before a single judge, there are effectively only three actions
in three districts—too few to warrant centralization. With such a small number of actions, they
argue, informal coordination should be possible, or, alternatively, transfer under 28 U.S.C. § 1404
would be preferable to centralization. We are not persuaded that informal cooperation among the
parties would be feasible. All actions are putative nationwide or statewide class actions involving
overlapping classes, and over four dozen plaintiffs’ firms are involved. Nor does Section 1404
transfer seem to be an available means of coordinating the litigation. No Section 1404 motions
have been filed, and plaintiffs in the two actions pending in the Northern District of Illinois are
opposed to transfer under Section 1404 or Section 1407. In these circumstances, centralization
seems the most reliable means of ensuring coordination of this litigation.
       The Northern District of California is an appropriate transferee district for this litigation.
Most of the involved actions are pending in the district, nearly all before Judge Edward M. Chen,
an experienced transferee judge. Defendant 23andMe is headquartered there, and much of the
relevant evidence likely will be located there. We are confident that Judge Chen will steer this
matter on an efficient and prudent course.
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       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of California are transferred to the Northern District of California and, with
the consent of that court, assigned to the Honorable Edward M. Chen for coordinated or
consolidated pretrial proceedings.


                                          PANEL ON MULTIDISTRICT LITIGATION




                                                          Karen K. Caldwell
                                                              Chair

                                      Matthew F. Kennelly                David C. Norton
                                      Dale A. Kimball                    Madeline Cox Arleo
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IN RE: 23ANDME, INC., CUSTOMER DATA
SECURITY BREACH LITIGATION                                         MDL No. 3098


                                     SCHEDULE A

                  Central District of California

     GILL v. 23ANDME, INC., C.A. No. 8:23−02387

                  Northern District of California

     SANTANA, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05147
     LAMONS v. 23ANDME, INC., C.A. No. 3:23−05178
     ANDRIZZI v. 23ANDME, INC., C.A. No. 3:23−05198
     EDEN, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05200
     J.S., ET AL. v. 23ANDME, INC., ET AL., C.A. No. 3:23−05234
     MIRZA v. 23ANDME, INC., C.A. No. 3:23−05259
     NAVARRO, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05281
     GREENBERG v. 23ANDME, INC., C.A. No. 3:23−05302
     FRIEND, ET AL. v. 23ANDME HOLDING CO., C.A. No. 3:23−05323
     HOFFMAN, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05332
     FARMER v. 23ANDME, INC., C.A. No. 3:23−05341
     BERMAN, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05345
     TULCHINSKY v. 23ANDME, INC., C.A. No. 3:23−05369
     SEIKEL v. 23ANDME, INC., C.A. No. 3:23−05419
     FRALIX v. 23ANDME, INC., C.A. No. 3:23−05439
     VELEZ v. 23ANDME, INC., C.A. No. 3:23−05464
     ALPERSTEIN, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05541
     SMITH v. 23ANDME, INC., C.A. No. 3:23−05548
     FURIA v. 23ANDME, INC., C.A. No. 3:23−05565
     SCHUTZ, ET AL. v. 23ANDME, INC., C.A. No. 3:23−05579
     VICKERY v. 23ANDME, INC., C.A. No. 3:23−05635
     SORENSEN v. 23ANDME, INC., C.A. No. 3:23−05677
     DOE v. 23ANDME, INC., C.A. No. 3:23−05717
     DUBE v. 23ANDME, INC., C.A. No. 3:23−05768
     MOLINA v. 23ANDME, INC., C.A. No. 3:23−05779
     RYAN v. 23ANDME, INC., C.A. No. 3:23−05968
     SCOTT, ET AL. v. 23ANDME HOLDING CO., ET AL., C.A. No. 3:23−05980
     IOFFE v. 23ANDME, INC., C.A. No. 3:23−06205
     RIVERS, ET AL. v. 23ANDME, INC., ET AL., C.A. No. 3:23−06481

                  Northern District of Illinois

     BACUS v. 23ANDME, INC., C.A. No. 1:23−16828
